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                 Exhibit 1
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Wick, Amanda (CRM)

From:                             Kucera, John (USACAC) <John.Kucera@usdoj.gov>
Sent:                             Wednesday, August 8, 2018 11:24 PM
To:                               Coopersmith, Jeff
Cc:                               Weinstein, Joe; Wick, Amanda (CRM); Rapp, Kevin (USAAZ)
Subject:                          Re: Davis Wright Tremaine/Seizure or Freezing of IOLTA Trust Account


Jeff,

Thanks. Without commenting now on everything in your email below, I will confer with my colleagues and get back to
you in the morning.

Please feel free to contact me should you need anything in the interim.

‐John

Sent from my iPhone

On Aug 8, 2018, at 8:08 PM, Coopersmith, Jeff <JeffCoopersmith@dwt.com> wrote:

        John, thank you again for your time this evening. My office and cell phone numbers are below, and you
        can call me anytime of you want to discuss any questions you may have after reviewing this email.

        Although we disagree with the seizure and reserve all rights on behalf of our clients and our law firm, we
        appreciate your willingness to work with us to resolve the immediate issues. We understand from our
        phone conversation today that the government meant to seize the balance of our client trust account
        specifically relating to Backpage matters, and not client trust funds relating to unrelated matters or
        funds relating to Backpage matters that were earned by our firm. We recognize that the government
        may not always have complete information, so this email provides the accurate data concerning the
        client trust account relating to Backpage matters for your review. We also appreciate your
        consideration in telling Bank              to hold off on transmitting funds to the government until we
        can get the numbers right, and confirming with the bank that other than the correct amount of funds to
        be transmitted by Bank                to the government, no other funds in any Davis Wright Tremaine
        accounts should be frozen or are subject to seizure. As discussed in our call, we heard from Bank
                  this afternoon that all funds held in the firm’s IOLTA accounts have been seized or frozen,
        which obviously causes very serious problems for the firm and our many clients with rights and
        obligations.

        We had our accounting department pull the data relating to the particular client trust account that holds
        funds relating to Backpage. The total balance of that account is $6,292,201.67. This is an interest‐
        bearing account at Bank             and the account number is                 . The chart below shows
        the complete transaction history for this account:

        <image002.png>


        As shown in the chart, the account was established with the first deposit on May 10, 2017. Davis Wright
        Tremaine did not draw any fees or costs from the account during its entire history. Please note that on
        December 29, 2017, we received a refund from a litigation support vendor in the amount of $3,945.00

                                                            1
         Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 3 of 34
related to Backpage work. Those funds were inadvertently deposited in our general client trust account
and should therefore not be at issue. There are no other Backpage‐related funds held in any client trust
account at Davis Wright Tremaine other than the $6,292,201.67 held in account number                    .

Again, we appreciate that the government is not seeking forfeiture of fees and costs that were earned
by our firm. Up to April 6, 2018 (we understand Mr. Ferrer entered into guilty pleas on April 5, 2018),
DWT had earned $1,088,715.63 in fees and costs which were never paid. We did not withdraw this
earned fee amount from our client trust account, in an abundance of caution to avoid any dispute, but
nevertheless we believe that any seizure should not include these $1,088,715.63 in fees and costs. This
would reduce the amount to be seized to $5,203,486.04, which would be consistent with the
government’s aim not to seize earned fees. We would hold the $1,088,715.63 in our trust account
before taking it to cover earned fees and costs until we could be sure that no other parties claim a right
to these funds.

Further, in lieu of any seizure, we would of course be willing to keep segregated and hold the entire
balance of the Backpage‐related trust account, and allow the funds to continue earning interest, under
an agreement that we would not transfer any funds out of the trust account pending resolution of the
matter with the government and any other interested parties. Please let us know if the government is
amenable to this option. Like other law firms, we have entered into similar agreements with
government agencies in the past when funds have been in dispute.

If holding the funds in lieu of seizure is not an option, the maximum amount of the seizure should be
$6,292,201.67, but as explained above we believe it should be a maximum of $5,203,486.04. Again, we
must reserve all rights on behalf of our clients and our law firm, but we appreciate your assistance in
resolving the immediate issues associated with the seizure warrant.

Best,


<image003.jpg>
Jeffrey B. Coopersmith | Partner
1201 Third Avenue, Suite 2200 | Seattle, WA 98101
Tel: (206) 757-8020 | Fax: (206) 757-7020 | Mobile: (206) 708-9396

865 South Figueroa Street, Suite 2400 | Los Angeles, CA 90017
Tel: (213) 633-8637 | Fax: (213) 633-8699 | Mobile: (206) 708-9396
Email: jeffcoopersmith@dwt.com| Website: www.dwt.com

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Admitted in Washington, California, and the District of Columbia

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From: Kucera, John (USACAC) [mailto:John.Kucera@usdoj.gov]
Sent: Wednesday, August 08, 2018 5:37 PM
To: Coopersmith, Jeff
Cc: Weinstein, Joe; Grant, James; Wick, Amanda (CRM); Rapp, Kevin (USAAZ)
Subject: RE: Davis Wright Tremaine/Seizure or Freezing of IOLTA Trust Account

FYI

Please find the attached face page of the warrant you requested.


                                                               2
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Also, my understanding is that the government has not yet received the funds, and
I’ve requested that     hold off on transferring any funds pursuant to the warrant
until the government gets back to them. I will have further conversations with
      tomorrow during business hours to discuss further.

Thanks,
John

____________________
John Kucera | AUSA
(213) 894-3391


From: Coopersmith, Jeff <JeffCoopersmith@dwt.com>
Sent: Wednesday, August 08, 2018 5:06 PM
To: Kucera, John (USACAC) <jkucera@usa.doj.gov>
Cc: Weinstein, Joe <joeweinstein@dwt.com>; Grant, James <jimgrant@dwt.com>
Subject: RE: Davis Wright Tremaine/Seizure or Freezing of IOLTA Trust Account

Please dial 888‐757‐0729 and use passcode                  thanks

From: Kucera, John (USACAC) [mailto:John.Kucera@usdoj.gov]
Sent: Wednesday, August 08, 2018 5:04 PM
To: Coopersmith, Jeff
Cc: Weinstein, Joe; Grant, James
Subject: RE: Davis Wright Tremaine/Seizure or Freezing of IOLTA Trust Account

It seems that my colleagues are unavailable, but I’ll call you now. What number
should I call?

I’ve attached our previous correspondence on this matter.

____________________
John Kucera | AUSA
(213) 894-3391


From: Coopersmith, Jeff <JeffCoopersmith@dwt.com>
Sent: Wednesday, August 08, 2018 4:53 PM
To: Kucera, John (USACAC) <jkucera@usa.doj.gov>
Cc: Weinstein, Joe <joeweinstein@dwt.com>; Grant, James <jimgrant@dwt.com>
Subject: Davis Wright Tremaine/Seizure or Freezing of IOLTA Trust Account

John, thank you for taking our call just now. As stated, I am a partner at Davis Wright Tremaine and a
former AUSA. Joe Weinstein is the General Counsel of our firm. We received information from Bank
         this afternoon that the government has frozen or seized (we are not sure which) all funds held
in our law firm client trust account. We are a law firm of over 500 lawyers and this will obviously
immediately impact the rights and obligations of countless clients who have nothing whatsoever to do
with the Backpage matters. Funds in trust relating to Backpage are held in a segregated account, and


                                                   3
         Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 5 of 34
we are happy to cooperate with the government with respect to those funds by holding them or sending
them to the government as required by any warrant (reserving all rights of our clients).

As we discussed, we need to discuss this with you and your team immediately to lift the seizure or
freeze with respect to unrelated clients. As discussed, we would like a call today. My contact
information is below. Thank you.

Best regards,


<image003.jpg>
Jeffrey B. Coopersmith | Partner
1201 Third Avenue, Suite 2200 | Seattle, WA 98101
Tel: (206) 757-8020 | Fax: (206) 757-7020 | Mobile: (206) 708-9396

865 South Figueroa Street, Suite 2400 | Los Angeles, CA 90017
Tel: (213) 633-8637 | Fax: (213) 633-8699 | Mobile: (206) 708-9396
Email: jeffcoopersmith@dwt.com| Website: www.dwt.com

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                 Exhibit 2
        Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 7 of 34




From: "Gary S. Lincenberg" <glincenberg@birdmarella.com>
Date: August 8, 2018 at 8:32:27 PM PDT
To: "Kucera, John (USACAC)" <John.Kucera@usdoj.gov>, "Ariel A. Neuman"
<aneuman@birdmarella.com>
Cc: "Gopi K. Panchapakesan" <gpanchapakesan@birdmarella.com>, "Rapp, Kevin (USAAZ)"
<Kevin.Rapp@usdoj.gov>
Subject: RE: Brunst Real Property

John,

Your proposal is accepted. Thank you for your professional courtesy in dealing with this issue.

Sincerely,

Gary S. Lincenberg | Principal
O: 310.201.2100, Ext. 224 | E: glincenberg@birdmarella.com

Bird, Marella, Boxer, Wolpert, Nessim,
Drooks, Lincenberg & Rhow, P.C.
1875 Century Park East, 23rd Floor
Los Angeles, California 90067-2561
BirdMarella.com




From: Kucera, John (USACAC) <John.Kucera@usdoj.gov>
Sent: Wednesday, August 8, 2018 1:25 PM
To: Ariel A. Neuman <aan@birdmarella.com>; Gary S. Lincenberg <gsl@birdmarella.com>
Cc: Gopi K. Panchapakesan <gkp@birdmarella.com>; Rapp, Kevin (USAAZ) <Kevin.Rapp@usdoj.gov>
Subject: Brunst Real Property

Gary and Ariel,

Regarding your client’s real property located at 5830 E. Calle Del Media, Phoenix,
AZ, the government will agree to recognize the full amount of your recorded lien on
condition that the government be allowed to approve the sale of the property (which
approval will not be unreasonably withheld) and any proceeds in excess of your
recorded lean will then be deposited into a government account to be treated as
substitute res in the criminal forfeiture proceeding. Please let us know your
position.
                                                    1
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Thank you,
John

____________________
John Kucera | AUSA
(213) 894-3391




                                      2
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                 Exhibit 3
               Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 10 of 34


Wick, Amanda (CRM)

From:                         Barbara Polowetz <bpolowetz@pd-law.com>
Sent:                         Thursday, November 8, 2018 11:36 AM
To:                           Wick, Amanda (CRM)
Cc:                           Michael Piccarreta
Subject:                      Padilla: seizure warrants issued for IOLTA funds to defend Mr. Padilla / request for
                              seizure affidavit - response to Amanda from MLP
Attachments:                  36A 37 38 40 JPMC.PDF; 36B GrandPoint.pdf



Amanda:

Thank you for your prompt response to my request for the search warrant affidavits. However, I am a
little perplexed. When I reviewed the seizure warrant and matched them up the PDKF firm accounts,
the $10,000 seizure warrant is from my operating account which contains nothing but earned fees from
all of the law firm’s cases. The second account named for $740,000 from the Grand Point bank account
was closed approximately one year ago. The other named accounts do not belong to our law firm. We
do have an IOLTA trust account which only contains unearned funds relating to Mr. Padilla. That
account was segregated from our other trust account.

I, too, am not sure who “they” is. However, you may check with Patrick Reid as he is the source of that
information and that information was not only provided to myself and Mr. Keenan who was present, but
also to Steve Weiss who represents Ms. Vaught. However, as long as we receive the affidavit promptly,
it is not important now who recommended it and who did not, only that we receive it. As you indicated,
you anticipate having an answer today that should resolve that portion of the problem.

I am willing to stipulate to a deadline extension for the execution of the warrants since they have been
served upon me. We do appreciate that you provided the warrants to us rather than serve the banks
as it would cause disruption not only to our law firm but numerous clients. However, in the absence of
a brief extension, we will need to address this issue with the court immediately due to the impact on
Mr. Padilla’s and Ms. Vaught’s First, Fifth and Sixth Amendment rights.

We understand that the government is not attempting to seize earned fees that have been moved from
the IOLTA prior to the receipt of the warrant. The law firm normally issues billings on the first business
day of the month for work performed the previous month so regardless of the seizure warrant, no funds
would be, nor now will they be, removed from the IOLTA account. In light of this recent development, I
do not intend, without court or government approval, to transfer any funds from the Padilla IOLTA
account until this issue is resolved.

Finally, I think the government should be aware by now that Mr. Padilla and Ms. Vaught do not have
sufficient assets or income to defend themselves and thus if the government is successful in its seizure,
they will be denied their counsel of choice and forced to undertake indigent representation. That will
undoubtedly have an impact on the pending criminal proceedings.

After you review this email, please get back to me with your thoughts. In the interim, we will continue
preparing our pleadings. Best wishes.

Mike Piccarreta

                                                        1
               Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 11 of 34


From: Wick, Amanda (CRM) <Amanda.Wick@usdoj.gov>
Sent: Wednesday, November 07, 2018 6:17 PM
To: Michael Piccarreta <mlp@pd‐law.com>
Cc: Reid, Patrick (CRM) <Patrick.Reid@usdoj.gov>
Subject: RE: Andrew Padilla: seizure warrants issued for IOLTA funds to defend Mr. Padilla / request for seizure affidavit

Mike,

Kevin forwarded me your email so that I could address your concerns. First, it might help for me to clarify a few
things as some of the information in your email isn’t quite accurate. We actually obtained two seizure warrants
for funds contained within two different IOLTA accounts, both held in the name of Piccarreta Davis Keenan
Fidel PC. One (attached hereto as “36A 37 38 40 JPMC”) is for $10,000 from a JP Morgan Chase bank account
ending in -9285. The second (attached hereto as “36B Grand Point”) is for $740,000 from a Grand Point bank
account ending in -3985.

I’m not sure who the “they” is that you reference in your email below, but my supervisor at DOJ has told any
counsel that inquired that this case is being prosecuted out of the District of Arizona and MLARS is assisting on
asset recovery issues only. As a result, we would have to consult with the prosecutors in Arizona to confirm
what the status of the criminal case was, whether discovery had been provided, whether the warrant was under
seal and, if not, whether we could provide it upon request. Given that the warrant affidavit would likely be
produced at some point during discovery, we didn’t think the prosecutors in Arizona would object, but we
needed to check with them before sending out the warrant affidavit. I anticipate having an answer on that
tomorrow.

Finally, the warrant needs to be executed within 14 days, the deadline for which is Wednesday, November 14th.
We give law firms the opportunity to wire funds to the United States, in lieu of serving the warrants on the
banks, because we are trying to minimize any disruption the warrant could have on your IOLTA accounts. I’m
sure Patrick told you that, often when we serve a seizure warrant on a bank to seize funds from an IOLTA
account, the bank freezes the accounts entirely and sometimes more accounts than the ones listed in the
warrant. Because of the adverse effects that can cause, we work very hard to coordinate with law firms to
effectuate the turnover of the funds with as little impact on the firms as possible. However, some firms do
decline to wire funds in lieu, and in that situation, we serve the warrants on the bank, as authorized by the
court, prior to the 14th day.

To the extent a law firm has earned fees that have not been moved from the IOLTA to an operating account, we
request that substantiating bills (redacted for attorney-client privilege) be submitted to us for due diligence
review, and once reviewed, we subtract that amount from the seizure amount, as we are not seeking to seize
earned fees.

Should you wish to make a Monsanto claim, we offer every defendant the opportunity to show that they are
financially unable to pay for their defense without the funds we are seizing. Because of the timeliness of the
warrant, we will be seizing the funds before the 14th, but if you can make a showing that your client has no
other funds with which to pay for his defense, we are happy to review those materials and consider releasing
some amount back to pay legal fees.

I hope that answers your questions, but if not, please do not hesitate to call me at my direct line below. Thank
you for your time and assistance with this matter.

Sincerely,

Amanda Schlager Wick
Trial Attorney, Asset Forfeiture & Money Laundering Unit
Money Laundering & Asset Recovery Section (MLARS)
1400 New York Ave. NW, 10th Floor

                                                             2
                  Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 12 of 34
U.S. Dept. of Justice, Washington, D.C. 20004
(202) 514-2842
(202) 597-0435 (cell)
(202) 514-5522 (fax)


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From: Barbara Polowetz <bpolowetz@pd‐law.com>
Sent: Wednesday, November 7, 2018 3:51 PM
To: Rapp, Kevin (USAAZ) <KRapp@usa.doj.gov>
Cc: Michael Piccarreta <mlp@pd‐law.com>
Subject: Andrew Padilla: seizure warrants issued for IOLTA funds to defend Mr. Padilla / request for seizure affidavit

Kevin:

I just was advised by Patrick Reed of DOJ that they’ve issued a seizure warrant for the
IOLTA funds that can be used to defend Mr. Padilla in this criminal case. They are
forwarding me the warrant. They indicated that at DOJ, the supervisors have strongly
urged the Arizona prosecutors to disclose the seizure affidavit as soon as possible. I
am requesting that the seizure affidavit be provided immediately so that I may review it
in conjunction with the seizure warrant to determine what legal remedies in the
forfeiture and/or the criminal case are appropriate.

Mike Piccarreta




Barbara Polowetz, Legal Assistant
PICCARRETA DAVIS KEENAN FIDEL PC
2 East Congress Street, Ste 1000, Tucson, AZ 85701
t 520.622.6900, ext. 137 | f 520-622-0521 | www.pd-law.com




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                 Exhibit 4
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                                                                          1


 1                        UNITED STATES DISTRICT COURT

 2                         FOR THE DISTRICT OF ARIZONA

 3                               _________________

 4    United States of America,     )
                                    )
 5                   Plaintiff,     )              CR-18-0422-PHX-SPL
                                    )
 6            vs.                   )               Phoenix, Arizona
                                    )               January 25, 2019
 7    Michael Lacey,                )                   9:35 a.m.
      James Larkin,                 )
 8    Scott Spear,                  )
      John Brunst,                  )
 9    Andrew Padilla,               )
      Joye Vaught,                  )
10                                  )
                     Defendants.    )
11                                  )
      ______________________________)
12

13              BEFORE:    THE HONORABLE STEVEN P. LOGAN, JUDGE

14

15                    REPORTER'S TRANSCRIPT OF PROCEEDINGS

16                               STATUS CONFERENCE

17

18

19

20

21
      Official Court Reporter:
22    Elva Cruz-Lauer, RMR, CRR
      Sandra Day O'Connor U.S. Courthouse, Suite 312
23    401 West Washington Street, Spc. 33
      Phoenix, Arizona 85003-2151
24    (602) 322-7249

25    Proceedings Reported by Stenographic Court Reporter
      Transcript Prepared by Computer-Aided Transcription
                          UNITED STATES DISTRICT COURT
     Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 15 of 34
                                                                          2


 1                           A P P E A R A N C E S

 2    For the Government:

 3                  U.S. Attorney's Office
                    By: KEVIN M. RAPP, ESQ.
 4                      ANDREW C. STONE, ESQ.
                        MARGARET WU PERLMETER, ESQ.
 5                  40 North Central Avenue, Suite 1200
                    Phoenix, AZ 85004
 6
                    U.S. Attorney's Office
 7                  By: JOHN JACOB KUCERA, ESQ.
                    312 North Spring Street, Suite 1200
 8                  Los Angeles, CA 90012

 9                  U.S. Attorney's Office
                    By: REGINALD E. JONES, ESQ.
10                  1400 New York Ave. NW, Ste. 600
                    Washington, DC 20530
11

12    For the Defendant Lacey:

13                  Lipsitz Green Scime Cambria
                    By: PAUL JOHN CAMBRIA, JR., ESQ.
14                  42 Delaware Avenue, Suite 120
                    Buffalo, NY 14202
15
      For the Defendants Lacey and Larkin:
16
                    Davis Wright Tremaine LLP
17                  By: ROBERT CORN-REVERE, ESQ.
                    1919 Pennsylvania Ave. NW, Ste. 800
18                  Washington, DC 20006

19    For the Defendant Larkin:

20                  Bienert Miller & Katzman
                    By: THOMAS HENRY BIENERT, JR., ESQ.
21                  903 Calle Amanecer, Suite 350
                    San Clemente, CA 92673
22

23    For the Defendant Spear:

24                  Feder Law Office
                    By: BRUCE S. FEDER, ESQ.
25                  2930 East Camelback Road, Suite 205
                    Phoenix, AZ 85016
                          UNITED STATES DISTRICT COURT
     Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 16 of 34
                                                                          3


 1    For the Defendant Brunst:

 2                  Kimerer & Derrick
                    By: MICHAEL D. KIMERER, ESQ.
 3                  1313 East Osborn Road, Suite 100
                    Phoenix, AZ 85014
 4
                    Bird Marella Boxer Wolpert Nessim
 5                   Drooks Lincenberg & Rhow
                    By: GOPI K. PANCHAPAKESAN, ESQ.
 6                  1875 Century Park E, Suite 2300
                    Los Angeles, CA 90067
 7
      For the Defendant Padilla:
 8
                    Piccarreta Davis Keenan Fidel
 9                  By: MICHAEL L. PICCARRETA, ESQ.
                    2 East Congress Street, Suite 1000
10                  Tucson, AZ 85701

11    For the Defendant Vaught:

12                  Karp & Weiss
                    By: STEPHEN M. WEISS, ESQ.
13                  3060 North Swan Road
                    Tucson, AZ 85712
14

15

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                          UNITED STATES DISTRICT COURT
     Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 17 of 34
                                                                              62


 1    argue they are not getting money from Backpage.           They are

 2    getting money, clean money from Backpage.          Clean money.

 3               They got 100,000 in August.       We are not taking that.

 4    That's clean money.      So Spear, Brunst, Lacey, and Larkin, have

 5    separate money from the sale of the alternative weeklies.               They

 6    are getting money that we view as clean, legitimate money, and

 7    they are funneling it through another lawyer's account and

 8    disbursing it out.

 9               THE COURT:    Why do you use the funneling through

10    analogy?    Because that just sounds unseemly.

11               MR. RAPP:    Well, it's a con move, however you want

12    to -- look, here's the point.        They are getting money, and

13    under Monsanto, come to us, show us your financials, we will

14    look at your financials, and if you have no legitimate money,

15    then maybe we can have a discussion.         But they won't do that.

16    They won't do that.

17               So you have to know the history of the case.             These --

18    many of the attorneys on this case who came to us shortly after

19    arrest, they knew that the tracing of illegitimate and

20    legitimate money was a problem.        And some of them said, look,

21    we have an account, we think this is legitimate money.               This

22    doesn't -- should not come as a surprise to them.

23               If by analogy, if this was a drug trafficking case,

24    and the kingpin of the cartel gave drug revenue out to various

25    attorneys before being arrested and indicted, and that same

                          UNITED STATES DISTRICT COURT
     Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 18 of 34
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 1    kingpin was arrested and indicted and pled guilty and agreed

 2    that he was running a criminal enterprise and that the revenue

 3    from the criminal enterprise was dirty, and then he pled

 4    guilty, the entire cartel, anybody looking at this would know

 5    that there's a good chance that the money is all tainted.

 6               That's the same case here.       It is no different.

 7    Backpage was a criminal enterprise from its inception.

 8               Now, they don't want to address the First Amendment

 9    arguments that we responded to in 446, but if you look at the

10    business practices they were engaging in, and they have never

11    ever responded to those, in any of the letters I have sent

12    them, in any of the pleadings, they won't stand up here and try

13    to defend the financial relationship with the Erotic Review,

14    with the aggregation of ads from other prostitution websites,

15    because they can't.

16               Because they are running a criminal enterprise, and

17    every dollar that they make is dirty or it's commingled with

18    the very de minimis amount of money that is legitimate -- that

19    they say is legitimate, I guess, from selling bicycles and

20    couches, which was such an incredibly small fraction of

21    Backpage's business model that it is not even worth talking

22    about.

23               So they have a remedy, Monsanto.        Come to us, show us

24    your financials.     Maybe you can trigger a Monsanto hearing, and

25    we can look at your financials, or don't.          And then find money

                          UNITED STATES DISTRICT COURT
     Case 2:18-cr-00422-DJH Document 476-1 Filed 02/25/19 Page 19 of 34
                                                                              64


 1    from your legitimate source to fund your defense.

 2               THE COURT:    Mr. Rapp, I appreciate that.

 3               Mr. Piccarreta, since you are the one that basically

 4    filed 443, I will give you the last word.          I will give you

 5    three minutes.

 6               MR. PICCARRETA:     Judge, we haven't had a factual

 7    hearing yet to defend the allegations of the government, so for

 8    them to assume we haven't defended yet, we haven't gotten to

 9    that stage.     We have plenty of defenses.

10               Two, they know under United States versus Vera, the

11    Ninth Circuit is very clear that a guilty plea cannot -- facts

12    contained in it cannot be used against other defendants because

13    it's inherently unreliable.       I can give you the cite on Vera.

14               THE COURT:    I am familiar with it.

15               MR. PICCARRETA:     And finally, Judge, there's been a

16    lot of slander of Davis Wright Tremaine.          They seem to be the

17    target of these guys, but they are a very reputable --

18               THE COURT:    Another fire bomb legal term when you

19    start throwing away slander and -- bring out slander and

20    prosecutorial misconduct and threats and all of this.               You all

21    are senior enough that when you start launching these different

22    types of allegations and accusations, you should be prepared to

23    have an affidavit signed by you and notarized to a state bar

24    that this person is engaging in this conduct.

25               If you are not prepared to do that, in this case -- I

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 1    don't know if it is your practice some other place -- but save

 2    that for when you leave the courtroom.          Because when you place

 3    it on the record like this, it's very difficult to unring that

 4    bell.

 5               And I'm pretty confident that all of you are very

 6    proud about what you have accomplished as lawyers, prosecutors,

 7    defenders, whatever you have taken on as a lawyer.            And you

 8    don't want to have your reputation sullied that way, so if you

 9    could take this outside of the courtroom.

10               But if you are seeking a remedy from me for some form

11    of misconduct, please bring it up in this courtroom.            If you

12    are not, leave the name calling out of this litigation.

13               Go ahead.

14               MR. PICCARRETA:     I wasn't trying to call names, I was

15    just responding to what was --

16               THE COURT:    When you talk about slander, that's

17    exactly what you are doing.       Go ahead.

18               MR. PICCARRETA:     All right.     I did not believe it was

19    fair to make those accusations.        But put that all aside, we are

20    all here today as a result of the government's seizure of IOLTA

21    accounts in November of this year.

22               And that has wreaked havoc on my client, my defense,

23    and my ability to get funds.        And that's why we are here today

24    asking you to stay the proceeding, at least for the defense

25    obligations until the next status conference so we can

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 1    determine whether we have adequate funds to defend or whether

 2    we have to file pleadings and go from there.          That's all we are

 3    asking.

 4               I am not involved in the other cases or whatever they

 5    are referring to.       We are here with a legitimate gripe.        We

 6    didn't serve the warrant on ourselves.         That wasn't discussed

 7    with us.    It was dropped on our lap on November 7th, and that's

 8    why we are here today, Judge.

 9               THE COURT:     I really appreciate that.

10               First of all, I want to thank all of you for your well

11    thought out arguments that you've presented to the Court.                It

12    is all very, very helpful.

13               This Court is in receipt of Document Number 443, which

14    is the defendants' joint status report.          This Court, after

15    reading the 15-page document several times, I will consider it

16    as a motion requesting a continuance or as was described

17    earlier by Mr. Piccarreta, a request to stay the defendants'

18    obligations.

19               This Court is also in receipt of Document Number 444,

20    which is the United States Government's memorandum, and I also

21    have Document Number 446 that I have also considered, which is

22    the United States' response to defendants' joint status report.

23               After careful consideration of all of the arguments of

24    counsel, and I certainly understand the issues concerning both

25    sides and the litigation generally and some of the hardships

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 1    that the defense counsels may be going through to adequately

 2    make sure that their clients are prepared for trial.

 3               After carefully considering all of the issues, the

 4    motion, which is Document Number 443, will be denied.

 5               The current deadlines in the scheduling order that are

 6    spelled out in Document Number 131, the government and defense,

 7    I am ordering you both to continue to meet those deadlines.

 8               In the event that the Ninth Circuit Court of Appeals

 9    comes out with a decision, and that decision is one in which

10    this District Court needs to act on it based on if funds are

11    freed or whatever way that they decide the case and send it

12    back to the District Court, I look forward to weighing in on

13    those issues.

14               Mr. Feder, I appreciate you providing me with a copy

15    of this document that is currently under seal.           I don't want

16    it.   It's a sealed document.

17               Lisa, if you can return that to Mr. Feder.

18               And the hearing is adjourned.

19               (Proceedings conclude at 11:28 a.m.)

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                                                                          68


 1                            C E R T I F I C A T E

 2

 3               I, ELVA CRUZ-LAUER, do hereby certify that I am duly

 4    appointed and qualified to act as Official Court Reporter for

 5    the United States District Court for the District of Arizona.

 6               I FURTHER CERTIFY that the foregoing pages constitute

 7    a full, true, and accurate transcript of all of that portion of

 8    the proceedings contained herein, had in the above-entitled

 9    cause on the date specified therein, and that said transcript

10    was prepared under my direction and control.

11               DATED at Phoenix, Arizona, this 6th day of February,

12    2019.

13

14                                                s/Elva Cruz-Lauer
                                              Elva Cruz-Lauer, RMR, CRR
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                 Exhibit 5
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 1
                            DECLARATION OF LYNDON VERSOZA
 2
        A.        Background of Postal Inspector Lyndon Versoza
 3
             1.      I am a United States Postal Inspector employed by the United States Postal
 4
     Inspection Service (“USPIS”). I have been so employed since June 2005. Currently, I am
 5
     responsible for investigating criminal violations of money laundering and structuring, such
 6
     as when United States Postal Service (“USPS”) Money Orders or the United States Mail
 7
     are used as a means to launder or structure criminal proceeds or instrumentalities. During
 8
     my career as a Postal Inspector, I have conducted (or otherwise participated in) a variety
 9
     of investigations, including financial crimes (such as money laundering, cash structuring
10
     and bank fraud), fraud (including wire and mail fraud, mail theft, identity theft), drug
11
     trafficking, child exploitation, homicides, rapes, assaults, and armed robberies. In addition,
12
     I have received both formal and informal training from the USPIS and other agencies
13
     regarding money laundering and financial crimes. From 2002 to 2005, prior to my
14
     appointment as a Postal Inspector, I was employed as a law enforcement officer with the
15
     U.S. Immigration and Naturalization Service, which later became U.S. Customs and
16
     Border Protection where I was tasked with various details and assignments to assist in
17
     detecting, interdicting or mitigating terrorism, drug trafficking and human trafficking.
18
             2.      I am one of the case agents conducting the Backpage.com investigation. The
19
     information contained in this declaration is based on my personal knowledge, information
20
     I received from other law enforcement officials assisting in the investigation, and
21
     information I have gathered from other sources.
22
        B.        Background of Voice Media Group and Village Voice Media Holdings
23
             3.      Village Voice Media Holdings (“VVMH”) was a company founded by James
24
     Larkin (“Larkin”) and Michael Lacey (“Lacey”). VVMH controlled alternative press
25
     newspapers such as the Phoenix New Times, LA Weekly and the Village Voice and
26
     eventually founded Backpage.com to compete with the predominant online classifieds
27
     website, Craigslist.com. On or about January 17, 2013, VVMH divested its ownership of
28
     the alternative print newspapers and sold these assets to Voice Media Group (“VMG”) for
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 1   about $29,935,771. Backpage.com assets were not included in this sale. The sale of the
 2   alternative press assets to VMG was financed by the owners of VVMH, which include
 3   Larkin, Lacey, John Brunst (“Brunst”), and Scott Spear (“Spear”, collectively, the
 4   “Criminal Defendants”) under the name Camarillo Holdings, with payments made to
 5   Cereus Properties.       To date, VMG has an outstanding principal balance of over
 6   $22,850,000 still owed to Camarillo Holdings.
 7      C.        Untainted Funds from Voice Media Group Pays for Legal Defense and Other
 8                Expenses.
 9           4.      I have reviewed financial records related to the financing and sale of the
10   alternative newspaper assets to VMG. Based on my review to date, the Government’s
11   evidence suggests that the funds Cereus Properties receives from VMG are not criminal
12   proceeds and therefore are not subject to forfeiture.
13           5.      Since the April 6, 2018 takedown of Backpage.com, VMG has continued to
14   pay its debt to the previous owners of the VMG assets at Cereus Properties, as well as
15   provide additional funds to pay for fees of rental properties. These payments were
16   deposited into accounts held by Cereus Properties, and later, directly to accounts of
17   attorneys:
18                a. Approximate Rental Property Payments Since April 2018: $202,000
19                b. Approximate Principal and Interest Payments Since April 2018:
20                   $2,697,513.57
21           6.      Upon information and belief, in August 2018, VMG was instructed to divert
22   payments from Cereus Properties and instead make them to an Interest Only Lawyers Trust
23   Account (“IOLTA”) held by Daniel J Quigley PLC at BBVA Compass Bank in Tucson,
24   AZ (the “Quigley IOLTA”). I have reviewed records from the Quigley IOLTA and
25   determined that these VMG payments are directly funding law firms representing
26   defendants in this case. For example:
27                a. On August 3, 2018 a wire from VMG for $50,000 was received by the
28                   Quigley IOLTA.


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 1              b. On August 10, 2018 a wire from VMG for $342,338.59 was received by the
 2                 Quigley IOLTA.
 3         7.      These funds were then disbursed to firms representing the Criminal
 4   Defendants. On August 17, 2018, the following wires were sent from the Quigley IOLTA:
 5              a. $56,273.73 to Copeland Franco
 6              b. $50,000.00 to Lipsitz Green Scime Cambria
 7              c. $41,058.68 to Akin Gump Strauss
 8              d. $13,174.65 to Lawrence G Walters
 9              e. $6,700.00 to Smith Katzenstein
10              f. $2,040.00 to Booth Sweet LLP
11              g. $16,447.50 to Taylor Maurer PLC
12              h. $100,000.00 to Davis Wright Tremaine
13              i. $15,000.00 to Henze Cook Murphy
14              j. $7,232.50 to Wayne B Giampietro
15              k. $50,000.00 to Lipsitz Green Scim
16         8.      A similar pattern was repeated in September 2018. On September 10, 2018
17   the Quigley IOLTA received a $390,561.97 wire from VMG. The following funds were
18   then disbursed to other law firms:
19              a. September 10, 2018, $100,000 wire to Davis Wright Tremaine
20              b. September 14, 2018, $12,500 wire to Henze Cook Murphy
21              c. September 14, 2018, $45,000.00 wire to Lipsitz Green Scime Cambria
22              d. September 14, 2018, $6,372.70 wire to Wayne B Giampietro
23              e. September 14, 2018, $5,000.00 wire to Taylor Maurer PLC
24              f. September 14, 2018, $4,106.20 wire to Lawrence G Walters
25              g. September 19, 2018, $8,601.85 wire to Smith Katzenstein
26         9.      Records show that Quigley received $259,463.06 in October; $200,000 in
27   November; $250,000 in December, and then $68,000 on or about, January 4, 2019.
28   Account records also showed similar outgoing payments for October through January as


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 1   demonstrated above. In early January, Quigley shifted his banking activities to another
 2   bank and VMG was directed to wire funds to the new account at the different bank.
 3           10.      In total, between August 2018 and early January 2019, the Quigley IOLTA
 4   received about $1,560,449.92 in allegedly untainted funds from VMG via wire transfers.
 5   The same account paid out about $1,242,783 to Quigley and other law firms via wire
 6   transfers and checks. The account also paid out about $392,666.62 to Lacey, Larkin’s
 7   spouse, Brunst, and Spear’s spouse. The funds were also used to pay for other expenses.
 8      D.         Assets and Income for Andrew Padilla
 9           11.      On February 22, 2019, I conducted record searches for assets and income for
10   Andrew Padilla (“Padilla”) and his spouse. Based on my review, I learned that in or about
11   July, 2017, Padilla and his spouse purchased a home in Plano, Texas for $222,687, of which
12   they financed about $178,150. In 2018 the tax assessor calculated the total value of this
13   property to be $243,788. Based on the mortgage price and the assessed value, and without
14   calculations to the principal payments to the mortgage, I believe the property has at least
15   $65,000 in equity.
16           12.      I also reviewed payroll records for Padilla and his spouse. Padilla earned
17   $60,470.92 in the first quarter of 2018 and has not had any reported income since the
18   seizure of Backpage.com. Padilla’s spouse earned about $87,000 in 2018.
19           I declare under penalty of perjury that the foregoing is true to the best of my
20   knowledge and belief. Respectfully submitted this 25th day of February, 2019.
21
22
23                                               ___________________________________
                                                 Lyndon Versoza
24                                               Postal Inspector
                                                 United States Postal Inspection Service
25
26
27
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